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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. CR13-65-JCC

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12   UNRUEAN ABOULAFIA,
13
                                   Defendant.
14

15   Offenses charged:
16          Count 1:       Conspiracy to Transport Individuals in Furtherance of Prostitution, in
17                         violation of 18 U.S.C. §§ 371 and 2421

18          Count 2:       Conspiracy to Use a Communication Facility to Promote Prostitution, in
                           violation of 18 U.S.C. § 371 and 2421
19
            Count 3:       Conspiracy to Engage in Money Laundering, in violation of 18 U.S.C. §
20                         1956(h)
21
     Date of Detention Hearing: March 4, 2013
22          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
23   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
24
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
25
            1.      Defendant has stipulated to detention, but reserves the right to contest her
26
     continued detention if there is a change in circumstances.

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            2.      There are no conditions or combination of conditions other than detention that
 2
     will reasonably assure the appearance of defendant as required or ensure the safety of the
 3
     community.
 4
            IT IS THEREFORE ORDERED:
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            (1)     Defendant shall be detained and shall be committed to the custody of the
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                    Attorney General for confinement in a correction facility separate, to the extent
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                    practicable, from persons awaiting or serving sentences or being held in custody
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                    pending appeal;
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            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
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                    counsel;
11
            (3)     On order of a court of the United States or on request of an attorney for the
12
                    government, the person in charge of the corrections facility in which defendant
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                    is confined shall deliver the defendant to a United States Marshal for the
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                    purpose of an appearance in connection with a court proceeding; and
15
            (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
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                    counsel for the defendant, to the United States Marshal, and to the United States
17
                    Pretrial Services Officer.
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            DATED this 4th day of March, 2013.
19

20                                                AJAMES P. DONOHUE
21                                                 United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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